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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 UNITED STATES OF AMERICA,

 v.                                                               NO. 4:15-CV-395-O

 211 COUNTY ROAD 4221, DECATUR,
 TEXAS, ET AL.




 UNITED STATES OF AMERICA,

 v.                                                               NO. 4:15-CR-224-O

 MARCIA CARAWAY MORRISON


                       UNITED STATES’ STATUS REPORT
                  AND NOTICE OF TERMINATION OF RECEIVER
              TO SELL REAL PROPERTY AT 429 PR 4221 DECATUR, TX

         The United States of America provides this status report to the court and parties

and notice of termination of Receiver Bobby Norris Preferred Properties, LLC to sell the

real property at 429 PR 4221 Decatur, Texas, and in support states:

                                         BACKGROUND

         1.        On May 22, 2015, the United States filed a civil complaint in rem seeking

forfeiture of the following Respondent Property in the above-captioned no. 4:15-CV-395:

              a.      Real property located at 211 CR 4221, Decatur, Texas, more
                      particularly described as 1.00 acres of land, being all that certain tract or
                      parcel of land lying and being situated in Wise County, Texas, being a
                      part of the ASA Hill Survey Abstract 363, including all buildings,
                      appurtenances, and improvements located thereon;

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             b.      Real property located at 429 Private Road 4221, Decatur, Texas, more
                     particularly described as 67.18 acres and a 30 foot road easement in the
                     Asa Hill Survey, Abstract No. 363, Wise County, Texas and being part
                     of the Second Tract (called 172-1/2 acres) as deeded to Ruth I.
                     Hornback et al in Volume 344, Page 91, Real Records, Wise County
                     Texas, and 43.05 acres in the Asa Hill Survey, Abstract No. 363, Wise
                     County, Texas, and being part of the Second Tract described in Volume
                     344, Page 91, Real Records, Wise County, Texas, including all
                     buildings, appurtenances, and improvements located thereon; and

             c.      Real property located at 951 FM 2264, Decatur, Texas, more
                     particularly described as 24.41 acre tract of land situated in the Asa Hill
                     Survey, Abstract No. 363, Wise County, Texas, and being that certain
                     tract to Wilbur Lee Smith described in deed as recorded in Volume 771,
                     Page 335, Real Records, Wise County, Texas (collectively “Respondent
                     property”).

        2.        The title owners of record of the Respondent Property are Marcia Morrison

and Charles Morrison. On or about May 27, 2015, the United States recorded notices of

lis pendens in Wise County, Texas as Document Nos. 201504912, 201504913, and

201504914 to provide notice that the Respondent Property was subject to forfeiture. The

United States also published notice of this forfeiture action.

        3.        As set forth in the affidavit in support of the civil complaint, Marcia was

the subject of a criminal investigation in which the United States also provided notice that

any property, real or personal, constituting or derived from proceeds traceable to the

offenses charged, including the Respondent Property. The civil forfeiture action has been

stayed since July 2015.

        4.        On March 21, 2016, the related criminal case United States v. Marcia

Morrison, No. 4:15-224-O (N.D. Tex.) concluded with a judgment entered against

Marcia, including a restitution order in the amount of $1,694,008.31, but no forfeiture of

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the Respondent Property. 1 Pursuant to 18 U.S.C. § 3613(c), upon entry of the criminal

judgment, a lien arose against all of Marcia’s property and rights to property, including

the Respondent Property.

        5.        On June 15, 2015, Legend Bank, N.A. filed its verified claim and answer in

the civil forfeiture case asserting its lien holder’s interest in the Respondent Property as

follows:

             a.      951 Farm to Market 2264 Decatur, Texas by virtue of a Deed of Trust

executed by 3CM Cattle Company LLC on or about April 18, 2014, recorded as Instrument

Number 201404049 in the real property records of Wise County, Texas, to secure a

Promissory Note in the original principal amount of $185,000.00 (“the Note”); and

             b.      429 Private Road 2441 Decatur, Texas by virtue of a Deed of Trust

executed by Charley Joe Morrison, Jr. and Marcia Caraway Morrison (“the Morrisons”) on

or about February 20, 2004, recorded as Instrument Number 344405, Vol. 1394, Page 69,

in the real property records of Wise County, Texas, to secure a Promissory Note in the

original principal amount of $75,000.00 (“the Note”), later modified by a Deed of Trust

Modification executed by the Morrisons on or about February 20, 2014, recorded as

Instrument Number 201402458 in the real property records of Wise County, Texas, to

secure a First and Second Debt Modification Agreement (“the Modification”);

             c.      Legend Bank has no interest in 211 CR 4221, Decatur, Texas.



        1
           Marcia pled guilty and agreed to deposit funds in the court’s registry and to reimburse the costs
incurred for the seizure and storage of property subject to forfeiture for the government to forgo forfeiture
of that property, see stipulation (Dkt. 11 in 4:15-CR-244), but she failed to post any funds.
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See Verified Claim and Answer (Dkts. 6-7 in 4:15-CV-395).

        6.        On December 26, 2017, 2017, The Bank of New York Mellon f/k/a The Bank

of New York Mellon as successor in interest to JPMorgan Chase Bank, N.A. as Trustee for

GSRPM Mortgage Pass-Through Certificates, Series 2003-1 (“BONY”) filed a motion to

intervene in the civil forfeiture case and asserted its lien holder’s interest in the Respondent

Property as follows:

             a.      429 Private Road 4221, Decatur, Texas by virtue of a Deed of Trust

executed by Charles Joseph Morrison Jr., and Marcia Caraway Morrison on or about July

14, 1998, recorded as Volume 803, Page 28 in the real property records of Wise County,

Texas, to secure a Promissory Note in the original principal amount of $252,000.00 (“the

Note”);

             b.      BONY has no interest in 951 Farm to Market 2264, Decatur, Texas; and

             c.      BONY has no interest in 211 CR 4221, Decatur, Texas.

See Motion (Dkt. 30 in 4:15-CV-395).

        7.        On January 18, 2018, Beal Bank USA notified the United States that it had

acquired and asserted its lien holder’s interest in the Respondent Property as follows:

             a.      429 Private Road 4221, Decatur, Texas 429 Private Road 4221, Decatur,

Texas by virtue of a Deed of Trust executed by Charles Joseph Morrison and Marcia

Caraway Morrison on or about October 22, 1998, the Assignment of which was recorded

as Document No. 201713385 in the real property records of Wise County, Texas on

November 29, 2017, to secure a Promissory Note in the original principal amount of

$35,890.00 for the benefit of Green Tree Financial Servicing Corporation (“the Note”);
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              b.      Beal Bank USA has no interest in 951 Farm to Market 2264, Decatur,

                      Texas; and

              c.      Beal Bank USA has no interest in 211 CR 4221, Decatur, Texas.

See Stipulation (Dkt. 57 in 4:15-CR-224).

        8.         Wise County, Texas, Wise County Lateral Road District, Wise County

Maintenance, and Decatur I.S.D. (“the Taxing Authorities”) filed verified claims in the

related criminal case (Dkts. 47-48 in 4:15-CR-224) asserting an interest in all of the

Respondent Property.

        9.         The United States had executed stipulations for settlement to pay off the

liens of BONY, Legend Bank, Beal Bank USA, and the Taxing Authorities upon the sale

of the Respondent Property. See Stipulations (Dkt. 26 in 4:15-CV-395 and Dkts. 49 and

57 in 4:15-CR-224).

        10.        On December 5, 2017, pursuant to 18 U.S.C. §§ 3613 and 3664(m)(1)(A),

26 U.S.C. §§ 7402(a) and 7403(d) and 28 U.S.C. 28 U.S.C. §§ 2001-02 and 3203(e), the

United states moved to foreclose its criminal restitution judgment lien against Marcia

Morrison’s nonexempt interest in the Respondent Property and appoint a receiver to sell

each property. See Motion to Foreclose Judgment Lien and Appoint Receiver to Sell

Real Property (Dkt. 28 in 4:15-CV-395 and Dkt. 51 in 4:15-CR-224).

        11.        On February 14, 2018, the court appointed Bobby Norris Preferred

Properties, LLC as Receiver to take possession and arrange for the sale of the Respondent

Property. See Order Appointing Receiver to Sell Real Property (Dkt. 38 in 4:15-CV-

395).
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        12.     Pursuant to this court’s orders, the Receiver closed sales of the property at

211 CR 4211 Decatur, Texas and 951 FM 2264 Decatur, Texas, and the net sale proceeds

have been paid to the Clerk of Court. See Order Confirming Sale (Dkt. 42 in 4:15-CV-

395 and Dkt. 62 in 4:15-CR-224) and Order to Apply Proceeds of Sale (Dkt. 47 in 4:15-

CV-395).

        13.     The stipulation with BONY, the primary and senior lien holder on 429 PR

4211 Decatur, Texas, provided that if that property had not sold by the end of six months

from the appointment of the receiver, BONY may proceed with a non-judicial sale of that

property in accordance with Section 51.002 of the Texas Property Code. See BONY

Stipulation (Dkt. 47 in 4:15-CV-395).

        14.     Unfortunately, after six months of marketing the property at 429 PR 4221

Decatur, Texas, the Receiver was unable to procure any offers that would be sufficient to

pay off the liens against the property. See Receiver’s Termination of Listing attached as

Exhibit A.

        15.     Therefore, the real property at 429 PR 4221 Decatur, Texas now reverts to

BONY to pursue a non-judicial sale as needed to satisfy its lien.

        16.     Since entry of the criminal restitution judgment against Marcia, the

disposition of 429 PR 4221 Decatur, Texas no longer depends on either civil or criminal

judicial forfeiture of the criminal proceeds traced into it. See United States v.

Ogbemudia, 361 Fed. App’x. 583, 584 (5th Cir. 2010) (enforcement of a restitution order

is distinct from forfeiture proceeding, thus no requirement that government trace funds to

defendant’s criminal offense). Enforcement of a restitution order simply depends on
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whether the judgment debtor has a substantial non-exempt interest in the property.

Separate and distinct from forfeiture, upon entry of the criminal judgment, pursuant to 18

U.S.C. § 3613(c), a statutory lien arose against all of Marcia’s property and rights to

property, including 100% of most community property, in the same manner as a federal

tax lien. See 18 U.S.C. § 3613 and 26 U.S.C. § 7403; United States v. Loftis, 607 F.3d

173, 176-79 (5th Cir. 2010) (citing Medaris v. United States, 884 F.2d 832, 833-34 (5th

Cir. 1989)).

        THEREFORE, the federal criminal restitution judgment lien remains attached to

all of Marcia Morrison’s property and rights to property, including 429 PR 4221 Decatur,

Texas, such that whenever that property sells, any net surplus proceeds shall be paid to

the Clerk of Court toward her outstanding judgment balance.

                                                Respectfully submitted,

                                                ERIN NEALY COX
                                                UNITED STATES ATTORNEY


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                                CERTIFICATE OF SERVICE

The undersigned Assistant United States Attorney certifies that in accordance with Fed. R.
Civ. P. 5, LR 5.1, and Fed. R. Crim. P. 49, LCrR 49.2, and the Miscellaneous Order on
Electronic Case Filing (ECF), the following document:

 Status Report and Notice of Termination of Receiver to Sell 429 PR 4221 Decatur, TX

was served on August 17, 2018 pursuant to the district court’s ECF system as to ECF
filers and sent by regular mail to:

                                       Service List
    USA v. 211 County Road 4221, Decatur, Texas, et al., No. 4:15-CV-395-O (N.D. Tex.);
               USA v. Marcia Morrison, No. 4:15-CR-224-O (N.D. Tex.); and
             Decatur ISD, et al v. 3CM Cattle Company, LLC, et al., No. 12379
                             (271st Jud. Dist., Wise Co., Tex.)

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